                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION
 
    UNITED STATES OF AMERICA,                     )
              Plaintiff,                          )
                                                  )        Case No.: 16-00348-01-CR-W-GAF
    v.                                            )
                                                  )        Date: October 18, 2018
    JOHN C. VERSTRAETE,                           )
               Defendant.                         )
 
                                         MINUTE SHEET
                                                                                                   

The Honorable Gary A. Fenner, presiding at Kansas City, Missouri

Nature of Proceeding: Sentencing Hearing

Time commenced:       1:18 p.m.                       Time terminated: 2:28 p.m.
                                                                                                   

                                         APPEARANCES

Plaintiff’s counsel: Sirena Miller Wissler, AUSA
Defendant’s counsel: Christopher Angles, Retained
Probation officer:   Penney Hodges
                                                                                                   
 
PROCEEDINGS IN COURTROOM: Parties appear as indicated above. Defendant appears
in person. Objections ruled on the record. Defendant’s objection to the 4 level enhancement for
being a leader/organizer is sustained. There are objections to the Presentence Investigation
Report that affect the guidelines or sentence imposed. The Court adopts the Report with
changes.     Defendant calls witnesses regarding defendant’s character. Sentencing
recommendations presented by counsel. Allocution granted to the defendant.

Witnesses:
Valerie Sims
1:39 pm – 1:43 pm
Chynwe Ahumareze
1:44 pm – 1:50 pm
Michelle Jones
1:51 pm -1:52 pm
Tim Coffey
1:53 pm – 1:57 pm

SENTENCE: Defendant sentenced to the custody of the Federal Bureau of Prisons for a term
          of 12 months each on Count(s) 1 and 6, to run concurrent.

Court Reporter: Kathy Calvert                       Courtroom Deputy: Lisa Mitchell
 
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            Supervised release of 3 years each on Counts 1 and 6, to run concurrent,
            w/mandatory, standard, and special conditions imposed.

            Fine waived. MSA of $200.00 imposed and to be paid today. Restitution:
            $1,500,000.00. Defendant advised of right to appeal. Defendant ordered to self
            surrender at or before 2:00 p.m. on December 3, 2018.

            The Court recommends to the Federal Bureau of Prisons: that the defendant be
            designated to a Bureau of Prisons facility as near Kansas City, MO as possible.

            Count(s) 2, 7, 8 and 9 dismissed on the motion of the United States.  
 




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